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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

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      KENNETH IMHOTEP VAUGH BEY,
4
                            Plaintiff,
5                                                           2:21-cv-02045-APG-VCF
      v.                                                    ORDER
6     JULIO RODRIGUEZ-RODRIGUEZ,
7                           Defendants.
8           Before the Court is Kenneth Imhotep Vaugh Bey v. Julio Rodriguez-Rodriguez, case number 2:21-
9    cv-02045-APG-VCF. (ECF No. 1).
10          Under 28 U.S.C. § 1914(a), a filing fee is required to commence a civil action in federal court.
11          Plaintiff has not complied with 28 U.S.C. § 1914(a). No complaint commencing this action has
12   been filed. The filing fee has not been paid. Plaintiff must pay the full filing fee for each case that he
13   seeks to open or file an application to proceed in forma pauperis. Plaintiff was ordered to pay the filing
14   fee by January 6, 2022, or file an application to proceed in forma pauperis. (ECF No. 3). The time has
15   passed and Plaintiff has not paid the filing fee or file an application to proceed in forma pauperis.
16          Accordingly,
17          The Clerk of Court is directed to administratively close this case.
18          DATED this 7th day of March 2022.
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19
                                                                   CAM FERENBACH
20                                                                 UNITED STATES MAGISTRATE JUDGE

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